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 6                           UNITED STATES DISTRICT COURT
 7                         SOUTHERN DISTRICT OF CALIFORNIA
 8     UNITED STATES OF AMERICA               )   Case No. 20-CR-02501-LAB
                                              )
 9                        Plaintiff,          )   JUDGMENT AND ORDER OF
                                              )   DISMISSAL OF INDICTMENT
10           v.                               )
                                              )
11     ERNESTO SALAS-MORALES,                 )
                                              )
12                        Defendant.          )
                                              )
13
14          Upon motion of the UNITED STATES OF AMERICA and good cause appearing,
15          IT IS HEREBY ORDERED that the Indictment in the above entitled case be
16    dismissed without prejudice.
17
18          IT IS SO ORDERED.

19    Dated: 10/20/2020

20                                       ____________________________________
                                         HONORABLE LARRY ALAN BURNS
21                                       Chief United States District Court Judge
22                                       United States District Court for the
                                         Southern District of California
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